           Case 8:18-cr-00038-PWG Document 19 Filed 01/24/18 Page 1 of 5


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IRB: USA0 2017R00709                                                        DISTRICT OF MARYLAND

                 IN THE UNITED STATES DISTRICT COURT 2018 JAN 24 PH 4: 53
                    FOR lift, DISTRICT OF MARYLAND
                                                                CLERk': CFFICE
                                                                 AT GREENHLT
 UNITED STATES OF AMERICA
                                                             BY              EPUTY
      V.                                  CRIMINAL NO.
                                                          'a CAe- CCDSa
 STEPHEN V. MCGRATH,                 •    (Production of Child Pornography,
                                          18 U.S.C. § 2251(a); Receipt of Child
           Defendant                      Pornography, 18 U.S.C. § 2252A(a)(2);
                                          Possession of Child Pornography,
                                          18 U.S.C. § 2252A(a)(5)(B); Forfeiture,
                                          18 U.S.C. § 2253)
                                              *******

                                         INDICTMENT

                                         COUNT ONE
                               (Production of Child Pornography)

         The Grand Jury for the District of Maryland charges that:

         On or about June 16, 2017, in the District of Maryland and elsewhere, the defendant,

                                   STEPHEN V. MCGRATH,

did knowingly employ, use, persuade, induce, entice, and coerce a minor to engage in any

sexually explicit conduct as defined in Title 18, United States Code, Section 2256(2), for the

purpose of producing a visual depiction of such conduct, and the visual depiction was

transmitted using any means and facility of interstate and foreign commerce and in and affecting

interstate and foreign commerce.



18 U.S.C. § 2251(a)
         Case 8:18-cr-00038-PWG Document 19 Filed 01/24/18 Page 2 of 5



                                        COUNT TWO
                                (Receipt of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about June 16, 2017, in the District of Maryland and elsewhere, the defendant,

                                  STEPHEN V. MCGRATH,

did knowingly receive child pornography and materials that contain child pornography, as

defined in Title 18, United States Code, Section 2256(8), that had been, using any means and

facility of interstate and foreign commerce, shipped and transported in and affecting interstate

and foreign commerce by any means, including by computer.



18 U.S.C. § 2252A(a)(2)




                                                2
         Case 8:18-cr-00038-PWG Document 19 Filed 01/24/18 Page 3 of 5



                                       COUNT THREE
                              (Possession of Child Pornography)

       The Grand Jury for the District of Maryland further charges that:

       On or about October 13, 2017, in the District of Maryland, the defendant,

                                  STEPHEN V. MCGRATH,

did knowingly possess any material that contained an image of child pornography, as defined in

Title 18, United States Code, Section 2256(8), which had been mailed, shipped, and transported

using any means and facility of interstate and foreign commerce and in and affecting interstate

and foreign commerce by any means, including by computer, and which was produced using

materials that had been mailed, shipped, and transported in and affecting interstate and foreign

commerce by any means, including by computer.



18 U.S.C. § 2252A(a)(5)(B)




                                                3
         Case 8:18-cr-00038-PWG Document 19 Filed 01/24/18 Page 4 of 5



                                FORFEITURE ALLEGATION

       The Grand Jury for the District of Maryland further finds that:

       1.      Pursuant to Title 18, United States Code, Sections 2253, upon conviction of the

offenses set forth in Counts One through Three of this Indictment, in violation of Title 18, United

States Code, Sections 2251 and 2252A, the defendant,

                                   STEPHEN V. MCGRATH,

shall forfeit to the United States of America:

                       Any visual depiction described in Title 18, United States Code, Sections

2251 and 2252A, or any book, magazine, periodical, film, videotape, or other matter which

contains any such visual depiction, which was produced, transported, mailed, shipped, or

received in violation of Title 18, United States Code, Chapter 110;

                       Any property, real or personal, constituting or traceable to gross profits or

other proceeds obtained from the offenses; and

                       Any property, real or personal, used or intended to be used to commit or to

promote the commission of the offenses.

       2.      If any of the property described above, as a result of any act or omission of the

defendant,

                       cannot be located upon the exercise of due diligence;

                       has been transferred or sold to, or deposited with, a third party;

                       has been placed beyond the jurisdiction of the court;

                       has been substantially diminished in value; or

                       has been commingled with other property which cannot be divided

                       without difficulty,



                                                 4
         Case 8:18-cr-00038-PWG Document 19 Filed 01/24/18 Page 5 of 5



the United States of America shall be entitled to forfeiture of substitute property pursuant to

Title 21, United States Code, Section 853(p), as incorporated by Title 18, United States Code,

Section 2253(b).



18 U.S.C. § 2253

                                                                  M. Sol4µ44c101,
                                                      Steph M. Schenning
                                                      Acting United States Attorney

A TRUE BILL:

C SIGNATURE REDACTED
                                                      Date: Januaryg-,-1/4 2018
roreperson                        L.)




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